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UNITED STATES DISTRICT COURT te
EASTERN DISTRICT OF TENNESSEE SEP 10 2019
GREENEVILLE DIVISION
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fasten District of Tenneccaa
UNITED STATES OF AMERICA ) aa
)
)
v. )
) 2:19-CR-116
) JUDGE CORKER
DENNIS WAYNE FLETCHER )
KENZIE M. GREENE )
SUPERSEDING INDICTMENT
COUNT ONE

The Grand Jury charges that beginning in or about the month of June 2019, and
continuing to on or about September 10, 2019, within the Eastern District of Tennessee and
elsewhere, the defendants, DENNIS WAYNE FLETCHER and KENZIE M. GREENE, and
other persons known and unknown to the Grand Jury, did knowingly, intentionally, and without
authority combine, conspire, confederate and agree with each other and with diverse other
persons to commit the following offenses against the United States of America: The distribution
of 50 grams or more of methamphetamine, its salts, isomers, and salts of its isomers, a Schedule
II controlled substance, in violation of Title 21, United States Code, Section 841(a)(1).

[21 U.S.C.-8§ 846, 841(a)(1) and (b)(1)(A)]

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COUNT TWO

The Grand Jury further charges that on or about June 30, 2019, within the Eastern District
of Tennessee, the defendants, DENNIS WAYNE FLETCHER and KENZIE M. GREENE, aided
and abetted by each other, did knowingly, intentionally and without authority possess with the
intent to distribute 50 grams or more of methamphetamine, its salts, isomers, and salts of its

isomers, a Schedule II controlled substance.
[21 U.S.C. §§ 841(a)(1), (b)(1)(A), 18 U.S.C. § 2 and Pinkerton v. United States, 328 U.S. 640

(1946) (Pinkerton liability) ]

COUNT THREE

The Grand Jury further charges that on or about June 30, 2019, within the Eastern District
of Tennessee and elsewhere, the defendants, DENNIS WAYNE FLETCHER and KENZIE M.
GREENE, aided and abetted by each other, did knowingly possess a firearm in furtherance of the
drug trafficking offense as charged in Count Two, in violation of Title 21, United States Code,
Section 841(a)(1), which is hereby incorporated by reference.
[18 U.S.C. § 924(c)(1)(A), 18 U.S.C. § 2 and Pinkerton v. United States, 328 U.S. 640 (1946)

(Pinkerton liability)]

COUNT FOUR

The Grand Jury further charges that on or about June 30, 2019, within the Eastern District
of Tennessee, the defendant, DENNIS WAYNE FLETCHER, knowing that he had previously

been convicted of a crime punishable by imprisonment for a term exceeding one year, knowingly

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possessed a firearm, namely a Taurus model millennium G2 9mm pistol, said firearm having

been shipped and transported in interstate commerce.

[18 U.S.C. § 922(g)(1)]

COUNT FIVE

The Grand Jury further charges that on or about July 26, 2019, within the Eastern District
of Tennessee, the defendants, DENNIS WAYNE FLETCHER and KENZIE M. GREENE, aided
and abetted by each other, did knowingly, intentionally and without authority possess with the
intent to distribute 50 grams or more of methamphetamine, its salts, isomers, and salts of its
isomers, a Schedule II controlled substance.

[21 U.S.C. §§ 841(a)(1), (6)(1)(A), 18 U.S.C. § 2 and Pinkerton v. United States, 328 U.S. 640

(1946) (Pinkerton liability)]

COUNT SIX

The Grand Jury further charges that on or about August 20, 2019, within the Eastern
District of Tennessee, the defendants, DENNIS WAYNE FLETCHER and KENZIE M.
GREENE, aided and abetted by each other, did knowingly, intentionally and without authority
possess with the intent to distribute 50 grams or more of methamphetamine, its salts, isomers,
and salts of its isomers, a Schedule II controlled substance.

[21 U.S.C. §§ 841(a)(1), (6)(1)(A), 18 U.S.C. § 2 and Pinkerton v. United States, 328 U.S. 640

(1946) (Pinkerton liability)]

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TRUE BILL:

 

J. DOUGLAS OVERBEY
United States Attorney

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EMILY M. pam
Assistant USS: Attorney

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